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             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
_________________________________________
                                          )
SEA SHEPHERD NEW ZEALAND and              )
SEA SHEPHERD CONSERVATION                 )
SOCIETY,                                  )
      Plaintiffs,                         )
                                          )
      v.                                  ) Ct. No. 20-00112
                                          )
UNITED STATES, et al.,                    )
      Defendants.                         )
__________________________________________)

                                           ORDER

       Upon review of defendants’ consent motion to reschedule oral argument, it is hereby

       ORDERED that the motion is granted and, it is further

       ORDERED that oral argument on defendants’ and defendant-intervenor’s partial motions

to dismiss and plaintiffs’ renewed motion for preliminary injunction will be held on ______,

2021, at ______.




Dated: _____________                                                      __________________
       New York, NY                                                             JUDGE
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              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
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                                          )
SEA SHEPHERD NEW ZEALAND and              )
SEA SHEPHERD CONSERVATION                 )
SOCIETY,                                  )
      Plaintiffs,                         )
                                          )
      v.                                  ) Ct. No. 20-00112
                                          )
UNITED STATES, et al.,                    )
      Defendants.                         )
__________________________________________)

     DEFENDANTS’ CONSENT MOTION TO RESCHEDULE ORAL ARGUMENT

       Pursuant to Rules 7 and 16 of the Rules of the Court, defendants respectfully request that

the Court reschedule the oral argument on defendants’ and defendant-intervenor’s partial

motions to dismiss and plaintiffs’ renewed motion for preliminary injunction currently set for

June 24, 2021. Counsel for the United States has conferred with the parties, and confirmed their

availability for oral argument on June 16, 2021, June 30, 2021, or July 1, 2021, with a preference

for the later dates. Brett Sommermeyer consented to this motion on behalf of plaintiffs on

April 20, 2021, and Warren Connelly consented on behalf of defendant-intervenor on that date.

Should the suggested dates above be unavailable, we respectfully request the opportunity to

reschedule argument in the first half of July 2021.

       Rescheduling of oral argument is warranted because counsel for the United States will be

on a previously scheduled vacation during the week of June 21, 2021, with limited internet

availability. Likewise, counsel for National Oceanic and Atmospheric Administration who will

assist in preparation for the argument will be on a previously scheduled vacation that same week.
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       For these reasons, we respectfully request that the Court reschedule oral argument in this

matter to June 16, 2021, June 30, 2021, or July 1, 2021, with a preference for the later dates and,

should those suggested dates above be unavailable, allow the parties the opportunity to confer

with the Court’s scheduling coordinator to reschedule argument in the first half of July 2021.

                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     JEANNE E. DAVIDSON
                                                     Director

                                                     /s/ PATRICIA M. McCARTHY
                                                     Assistant Director

                                                     /s/ STEPHEN C. TOSINI
                                                     Senior Trial Counsel
                                                     Department of Justice
                                                     Civil Division
                                                     Commercial Litigation Branch
                                                     P.O. Box 480, Ben Franklin Station
                                                     Washington, DC 20044
                                                     Tel.: (202) 616-5196

April 30, 2021                                       Attorneys for Defendants




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                            CERTIFICATE OF COMPLIANCE

       I hereby certify, pursuant to section 2(B)(1) of the Standard Chambers Procedures of this

Court, that this motion contains 245 words, excluding any materials excluded from those

Procedures’ requirements, as calculated by the word processing system used to prepare this brief

(Microsoft Word).

                                          /s/ Stephen C. Tosini




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